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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO

HUBERT VAN DER HEIJDEN, and CARLY                 )
VAN DER HEIJDEN, husband and wife                 )
                                                  )     CASE NO. CV07-05-N- EJL
              Plaintiffs,                         )
                                                  )
v.                                                )     ORDER OF DISMISSAL WITH
                                                  )     PREJUDICE
SAFECO INSURANCE CO. OF AMERICA, a                )
foreign corporation licensed to do business in    )
Idaho,                                            )
                                                  )
              Defendant.                          )
                                                  )



       THIS MATTER having come before this court upon the Stipulation for Dismissal With
Prejudice entered into between the parties and filed herein, and good cause appearing;
       NOW, THEREFORE, IT IS HEREBY ORDERED that the above-entitled action is
hereby dismissed with prejudice and without costs.


                                            DATED: September 12, 2007




                                            Honorable Edward J. Lodge
                                            U. S. District Judge




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